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 1           Q.    Did you kind of take the brunt of it, so

 2    your other siblings didn't have to?

 3           A.    My little sister, yes.

 4           Q.    That's A.H.,      right?

 5           A.    Yes, ma'am.

 6           Q.    Okay.     Do you leave your Aunt Patricia's

 7    house?

 8           A.    Yes, I do.

 9           Q.    Okay.     When did you leave her house?

10           A.    May of 2015.

11           Q.    Okay.     Why did you leave Aunt Patricia's

12    house?

13           A.    I was tired of getting beat.                 I was

14    tired of getting neglected, so I left.

15           Q.    Where did you go?

16           A.    I reached out to my sister, Santresia

17    Woods.

18           Q.    So in May of 2015 -- or I guess, in

19    spring of 2015, were you still in school?

20           A.    No.

21           Q.    Okay.     When did you stop going to

22    school?

23           A.    I believe we were just -- around the

24    time I left, we were just going back to school

25    from spring break.




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 1           Q.   Do you remember what happened to them?

 2           A.   I know they were charged.                I don't know

 3    what happened to them.

 4           Q.   Okay.     Do you know if she was

 5    cooperative with the investigation -- well, let's

 6    say, the prosecution?

 7           A.   I don't know if she was cooperative with

 8    the prosecution.

 9           Q.   Was she cooperative with            you?

10           A.   She was cooperative.           I mean, I don't

11    recall her being friendly or especially outgoing

12    or anything like that.          We got the information we

13    needed to make an arrest.

14           Q.   Do you recall how old she was?

15           A.   She was 15, I believe.

16           Q.   15?

17           A.   Uh-huh.     (Affirmative).

18           Q.   And what happened to her as a result of

19    this investigation?

20           A.   I know she was placed at Wellsprings.                    I

21    don't know how long she stayed there.

22    Wellsprings -- well, it's a -- like, a

23    residential facility, so if it's an option, I

24    believe that kids can stay there, unless some

25    other, you know, family member or something like




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 1           Q.    Did you -- would you have told her that

 2    you were okay?

 3           A.    Honestly, I can't speak for what a

 4    15-year-old me would have said, because I don't

 5    recall.

 6           Q.    Okay      If you had told her that you were

 7    not okay, do you think she would have helped you?

 8           A.    I'm not sure.

 9           Q.    Okay.     Did anybody in         your family --

10    before      you reached out to Santresia, did anybody

11    in   your family keep in touch with her?

12           A.    Keep in touch with who, Santresia?

13           Q.    Yes.

14           A.    No.

15           Q.    Okay.     Did anybody know anything about

16    her?

17           A.    They knew I had sisters on my dad's side

18    that were older than me.             That's about it.

19           Q.    Okay.     But they didn't know, like, where

20    she lived or if she was in school, what she was

21    doing?

22           A.    No.

23           Q.    Okay.     So when      you called her on

24    Facebook, what did you say to Santresia                         excuse

25    me, sorry.         What did she say to you?




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 1            A.   She would help me get in school.                       She

 2    would take care of me, and to come to where she

 3    is.

 4            Q.   Where was that?

 5            A.   The Garden Inn Hotel in Union City.

 6            Q.   Was she in school?

 7            A.   No.

 8            Q.   Had she graduated?

 9            A.   I don't know.          Around the time I got

10    with Santresia, what I know is Santresia was 25

11    in 2018

12            Q.   Okay.

13            A.   -- that's it.          That's all I know.               I

14    don't know how old she was.                I don't know

15    anything.

16            Q.   Okay.      So when you call her on Facebook

17    and you tell her you need help and she tells you

18    that basically, she's going to help you, right?

19            A.   Yes, ma'am.

20            Q.   Okay.      Did she tell you how she's going

21    to help you?

22            A.   She's going to put me in school.                       She's

23    going to put a roof over my head.                    Stuff like

24    that.

25            Q.   Did she say how, though?                Like, where




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 1           When did you learn there wasn't going to be

 2    an apartment?

 3           A.    My first day.

 4           Q.    What happened?         How did you learn that?

 5           A.    I guess, when I started being sexually

 6    trafficked.

 7           Q.    The first day?         Yes?

 8           A.    Well, it was the next day, the next

 9    morning really.         Not the same day.

10           Q.    Okay.     So then tell me about that first

11    day when     you get there.         You show up to the hotel

12    to meet your sister.

13           Is she already staying at the Garden Inn?

14           A.    Yes, ma'am.

15           Q.    How long had she been staying there?

16           A.    I don't recall.

17           Q.    Okay.     But she's there with her

18    newborns?

19           A.    Yes.

20           Q.    Okay.     Is anybody else staying with her?

21           A.    No, not at that time.

22           Q.    How many rooms did she have?

23           A.    I would like to say one.                The first day

24    I got there, she had one room.

25           Q.    Okay.     And when you leave Key'Shundra's




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 1    After that, Santresia beat me.                 She kicked me.

 2    We fought, and then she walked me down there to

 3    the room.

 4           Q.    Okay.     So when she says a play is here,

 5    how did you know what a play was?

 6           A     I didn't.

 7           Q     Did you ask her what that meant?

 8           A     I had to have sex with a man that was

 9    willing to pay for my -- what did she call it,

10    company.

11           Q.    Okay.     So you asked her what you mean by

12    a play, and then she tells you, you have to have

13    sex with a man who wants to pay for your company?

14           A     (Shakes head).

15           Q     Is that all she says about it?

16           A     Yeah, they're paying for your company.

17           Q     Did she ever prostitute herself?

18           A     I found out later, down the line, yes.

19           Q     Okay.

20           A.    When I -- when she was prostituting me,

21    no.    Santresia never did it.

22           Q.    So when she tells you what a play means,

23    do you have any more conversation?                   Like, has she

24    said, I've done this before?                This is how this

25    works.      This is




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 1    type thing.

 2            A.   No, ma'am.

 3            Q.   Okay.     Were you allowed to go outside

 4    and get food alone?

 5            A.   Not alone.

 6            Q.   Okay.     Were you allowed to go anywhere

 7    alone?

 8            A.   No.

 9            Q.   Okay.     Okay.        At the Garden Inn Hotel,

10    did you -- did she have to rent the room for

11    did she have to go back and, like, pay money each

12    day to rent the room?

13            A.   Yes.

14            Q.   Okay.     Did you ever go to the front desk

15    with her to rent the room?

16            A.   Front desk at the Garden Inn, I went

17    once.

18            Q.   Okay.

19            A.   She was there the whole time.

20            Q.   You didn't tell anyone at the front desk

21    what was going on, right?

22            A.   No, Santresia was standing there.

23            Q.   Okay.     Did you ever tell anybody,

24    including your family, that Santresia was beating

25    you?




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 1    was going.

 2            So then it sounds like when they changed

 3    management maybe they didn't know about telling

 4    you not to return, because it was new management.

 5    Is that what you think happened?

 6            A.   It could have possibly happened.

 7            Q.   Okay.     How did you guys pick the

 8    Microtel to go next?

 9            A.   It was right across the street.

10            Q.   Okay.     And let me go back a little bit

11    to the Garden Inn.

12            A.   Uh-huh.      (Affirmative).

13            Q.   Describe for me what that hotel looked

14    like.

15            A.   What do you mean describe what it was

16    like?

17            Q.   Like, what did it look like?                 What were

18    the people like?          How many rooms, if you know?

19    Like, was it a big hotel, lots of staff?                       What

20    was it like?

21            A.   It was a nice size hotel.               All the rooms

22    were outside.         It wasn't an inside place.                The

23    building is yellow.           I believe it has two stories

24    only.

25            Q    What type of people did you see around




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 1    the hotel?         Describe for me the people you would

 2    see.

 3            A.   Skimpy, older, some younger or my age.

 4            Q.   Okay.     When you see skimpy, what do you

 5    mean?

 6            A.   What's the word --

 7            Q.   You're talking about --

 8            A.   -- promiscuous.

 9            Q.   Okay.     So when      you say skimpy, maybe you

10    mean, like, skimpy clothes?

11            A.   Yes, ma'am.

12            Q.   Gotcha.      Did you notice the promiscuous

13    people around the hotel when you first got to the

14    Garden Inn?

15            A.   No.

16            Q.   When did you notice it?

17            A.   The next afternoon.

18            Q.   How did you notice it?

19            A.   Because everybody was outside, and

20    everybody was loud playing music.

21            Q.   Okay.     Do you know if the people that

22    were dressed in skimpy clothing or seemingly

23    promiscuous, were being sex trafficked or if they

24    were prostitutes?          Do you have any idea?

25            A.   I can assume that they were prostitutes,




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 1            Q.     Did you ever ask her for help?

 2            A.     No.

 3            Q.     What else did she say about it?

 4            A.     It was wrong.          She shouldn't be doing

 5    it.     She shouldn't do her little sister like

 6    that.        That's it.

 7            Q.    At the Microtel when you would have

 8    dates, where would Santresia go?

 9            A.    She would still be in her room.                    She

10    always had two rooms, always.

11            Q.    Okay.      So she would be in her own room,

12    not in the room you were in?

13            A.     We shared a room.           I was just taking

14    johns out of a separate room.

15            Q.    Okay.      And then that's what I meant.

16            Not in the same room you were at when                      you

17    are taking dates?

18            A.     Yes, ma'am.

19            Q.     Gotcha.      So she wasn't, like, waiting

20    outside the room?

21            A.     No, ma'am.

22            Q.     Gotcha.      Do you guys look alike?                Like,

23    do you look like sisters?

24            A.     If you ask me, no.

25            Q.    Okay.       What others -- have           you had other




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                                                                         Page 166
  1           Q.     O k ay .   T el l m e w h at y ou s aw th a t made
  2    yo u thi n k t ha t , b ec a us e y o u ha ven ' t s ai d t hat
  3    ab out a n y o f t he ot h er ho t el s.
  4           A.     O k ay .   W ha t I sa w t ha t m a de me sa y that
  5    is , I s a w o ld e r w om e n a nd yo un ger wo m en , a nd when
  6    I say y o un g er wo m en , I me a n, g irl s t h at lo oked my
  7    ag e wal k in g a r ou n d, an d a g ai n, pr o mi s cu o us
  8    cl othes , s h or t s, ha l f s hi r ts , lin g er i e, pe ople
  9    wa lking ar o un d o u ts i de ba r ef oo ted .
 10           Yo u h a ve me n c o mi n g i n all d a y, al l n ight,
 11    stuf f l i ke th a t.        Y o u h av e n ice f a nc y c a rs
 12    driv ing in .        M en ge t ti n g o ut in b i g o le mi nk
 13    coat s.      It wa s v e ry ob v io u s wha t t yp e o f h otel it
 14    was.
 15           Q.     W h en yo u s a y w ha t t ype o f - - t h e type of
 16    hote l i t w a s, wh a t t yp e o f h ote l a re yo u s aying
 17    it i s?
 18           A.     A wh o re ho t el .
 19           Q.     I s t h at ho w y o u w ou ld de s cr i be th e Super
 20    8 on Ol d N a ti o na l ?
 21           A.     No.
 22           Q.     W h y n ot ?
 23           A.     B e ca u se th e S u pe r 8 on O l d N at i on al,
 24    they we r e a n i ns i de ho t el , n ot an ou t si d e
 25    hote l - -
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                                                                         Page 170
  1           A.    T h ey we r e m or e o u t an d b e ll i ge r en t --
  2           Q.    O k ay .
  3           A.    - - w i th it at th e S up er 8 .            Th e - -
  4           Q.    T r av e lo d ge ?
  5           A.    Y e s, ma ' am .       T he Tr av elo d ge , i t w asn't
  6    hi dden, bu t i t w a sn ' t a s o ut ca ste d .
  7           Q.    O k ay .   W as th e re an yt hin g e l se
  8    di ffere n t?
  9           A.    D i ff e re n t?      Y e s, ou ts ide of th e
 10    Trav elo d ge it wa s n' t p e op l e hav in g s e x o n the
 11    stai rwe l l.
 12           Q.    O k ay .   S o y ou ' re sa yin g t ha t h a pp ened at
 13    the Sup e r 8 ?
 14           A.    Y e s.
 15           Q.    O k ay .
 16           A.    I di d n' t h e ar pe o pl e s cr e am i ng th rough
 17    the wal l s a t t he Tr a ve l od g e.
 18           Q.    O k ay .   O ka y .     At th e T ra v el o dg e - - or
 19    the Tra v el o dg e c o mp a re d t o t he Su p er 8 o n
 20    Cres cen t C e nt r e B ou l ev a rd , w as th e re an y
 21    diff ere n ce th a t y ou no t ic e d in, l i ke , t h e staff
 22    at t he h ot e l?
 23           A.    Y e s, th e s t af f a t t he Su p er 8 a ct ually
 24    said so m et h in g t o m e .
 25           Q.    O k ay .   I 'm go i ng to as k y ou ab o ut that
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                                                                            Page 173
  1             A.   Y e s.
  2             Q.   O k ay .   A nd th e G a rd en In n , i s t ha t a
  3    wh ore h o te l ?
  4             A.   Y e s.
  5             Q.   H o w i s t ha t o n e d if fe ren t o r t h e same as
  6    th e Sup e r 8 o n C r es c en t C e nt re Bo u le v ar d ?
  7             A.   T h e o nl y r e as o n i t' s dif f er e nt is
  8    be cause it ' s n ot as ba d .
  9             Q.   T h e G ar d en In n ?
 10             A.   Y e s, ma ' am .
 11             Q.   D e sc r ib e t h at fo r m e.       H o w i s i t not as
 12    bad?
 13             A.   A g ai n , i t j us t w a sn 't br o ad c as t ed that
 14    peop le w er e s e ll i ng th e ir bo dy.
 15             Q.   O k ay .   O ka y .    So te ll me ab o ut th e
 16    Supe r 8 .
 17             Wh e n y ou sa y i t w a s b ro adc as t ed th a t people
 18    are sel l in g t h ei r b o dy , h o w is th a t?
 19             A.   A g ai n , y ou ha v e y ou nge r w om e n w al king
 20    arou nd i n p ro m is c uo u s c lo t hi ng.            Y ou ha v e girls
 21    my a ge w al k in g a r ou n d o ut s id e i n l in g er i e.             You
 22    have ol d er wo m en do i ng th e s ame t h in g - - a nd I
 23    lost my tr a in of th o ug h t.
 24             Do yo u m i nd as k in g t h at qu es t io n o n e more
 25    time ?
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                                                                          Page 174
  1           Q.    Y e ah .    Y ou we r e d es cr ibi n g t he Su per 8
  2    as wors e t h an th e G a rd e n I nn , bec a us e y o u said
  3    th e Gar d en In n w a s, li k e, no t as b ro a dc a st ed,
  4    me aning , t h e S up e r 8 , t hi n gs a re m or e b r oa dcasted
  5    th at pe o pl e a r e s el l in g t h em se lve s f o r s ex .
  6           An d s o y o u w er e d e sc r ib in g f o r m e h ow you
  7    kn ew th a t p eo p le we r e s el l in g the m se l ve s f or sex
  8    an d how it wa s s o b r oa d ca s te d.
  9           A.    Y o u h av e w o me n - - y ou ng g ir l s a nd older
 10    wome n w a lk i ng up to ca r s, ge tti ng in ca r s.                   You
 11    have pe o pl e h a vi n g s ex on th e s ta i rw e ll at the
 12    Supe r 8 .     Y ou ha v e y ou n ge r w ome n.         Y o u c an hear
 13    peop le s cr e am i ng th r ou g h t he wa ll s .          Th a t' s
 14    broa dca s ti n g.      T h er e 's no wa y y ou do n 't kn ow
 15    that 's g oi n g o n.
 16           Q.    O k ay .    D id yo u e v er ta lk to an y bo dy
 17    abou t w h at yo u s a w a t t he ho tel w h il e y o u were at
 18    the hot e l?
 19           A.    No.
 20           Q.    O k ay .    W hy no t ?
 21           A.    B e ca u se th e y h av e c ame ra s .        If I saw it,
 22    I kn ow i t w as sa w a l so .
 23           Q.    W h y d o y ou sa y y o u kno w i t w as sa w also?
 24           A.    I t w a s s ee n , b ec a us e t he wa y t h e
 25    hote l - - t h e w ay th e h o te l i s s et up , y o u have
Case 1:22-cv-03419-JPB    Document 115-4      Filed 12/08/23   Page 15 of 36
                                                                          Page 174
  1           Q.    Y e ah .    Y ou we r e d es cr ibi n g t he Su per 8
  2    as wors e t h an th e G a rd e n I nn , bec a us e y o u said
  3    th e Gar d en In n w a s, li k e, no t as b ro a dc a st ed,
  4    me aning , t h e S up e r 8 , t hi n gs a re m or e b r oa dcasted
  5    th at pe o pl e a r e s el l in g t h em se lve s f o r s ex .
  6           An d s o y o u w er e d e sc r ib in g f o r m e h ow you
  7    kn ew th a t p eo p le we r e s el l in g the m se l ve s f or sex
  8    an d how it wa s s o b r oa d ca s te d.
  9           A.    Y o u h av e w o me n - - y ou ng g ir l s a nd older
 10    wome n w a lk i ng up to ca r s, ge tti ng in ca r s.                   You
 11    have pe o pl e h a vi n g s ex on th e s ta i rw e ll at the
 12    Supe r 8 .     Y ou ha v e y ou n ge r w ome n.         Y o u c an hear
 13    peop le s cr e am i ng th r ou g h t he wa ll s .          Th a t' s
 14    broa dca s ti n g.      T h er e 's no wa y y ou do n 't kn ow
 15    that 's g oi n g o n.
 16           Q.    O k ay .    D id yo u e v er ta lk to an y bo dy
 17    abou t w h at yo u s a w a t t he ho tel w h il e y o u were at
 18    the hot e l?
 19           A.    No.
 20           Q.    O k ay .    W hy no t ?
 21           A.    B e ca u se th e y h av e c ame ra s .        If I saw it,
 22    I kn ow i t w as sa w a l so .
 23           Q.    W h y d o y ou sa y y o u kno w i t w as sa w also?
 24           A.    I t w a s s ee n , b ec a us e t he wa y t h e
 25    hote l - - t h e w ay th e h o te l i s s et up , y o u have
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                                                                        Page 175
  1    th e bac k si d e o f t he ho t el is w her e a l l t he
  2    wo rking gi r ls ar e .       It ' s t hr ee st o ri e s.      T hree
  3    st ories fu l l o f w or k in g g i rl s.        B o th si d es of the
  4    ho tel h a ve a s ta i rw e ll go i ng d own th e s t ai rs or
  5    up the s ta i rs --
  6           Q.    O k ay .
  7           A.    - - t h er e 's ca m er a s on ea c h l ev e l.          If I
  8    sa w it, th e y s aw it .
  9           Q.    D o y o u k no w i f s o me on e w a s c on s ta ntly
 10    moni tor i ng th e v i de o c a me r as at t h e h ot e l?
 11           A.    N o , I d o n' t .
 12           Q.    S o y o u d on ' t k no w w hat m a y o r m ay not
 13    have be e n s ee n b y s t af f m e mb ers a t t h e h ot el?
 14           A.    W h ic h i s t r ue .
 15           Q.    Y o u s ai d t h er e w a s thr ee st o ri e s full of
 16    work ing gi r ls , s o a r e y ou sa yin g t ha t e a ch hotel
 17    room on th e b a ck s id e w a s r en ted ?
 18           A.    N o , I 'm no t s a yi n g tha t.
 19           Q.    O k ay .   H ow ma n y w or kin g g ir l s d id you
 20    see at t he ho t el ?
 21           A.    A lo t .
 22           Q.    D o y o u h av e a nu m be r?
 23           A.    N o , I d o n' t .
 24           Q.    O k ay .   D o y ou re m em ber a n y o f t he ir
 25    name s o r n i ck n am e s?
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                                                                            Page 176
  1           A.    I re m em b er on e g i rl , nam e A l yc i a Pierce.
  2           Q.    D o y o u k no w h o w t o sp ell it , A l yc ia?
  3           A.    A - l- y -c - i- a .
  4           Q.    D o y o u k no w h o w t o sp ell he r l a st name?
  5           A.    P - i- e -r - c- - e.
  6           Q.    T h an k y o u.        O k ay .   Ho w d i d y ou me et
  7    Al ycia?
  8           A.    I ac t ua l ly me t A l yc ia at th e s a me hotel.
  9           Q.    H o w d id yo u m e et he r?
 10           A.    O u ts i de sm o ki n g a c iga re t te .
 11           Q.    O k ay .      H ow di d t h at co nv e rs a ti o n go with
 12    Alyc ia?
 13           A.    W h at do yo u m e an , h ow di d o u r
 14    conv ers a ti o n g o?
 15           Q.    Y o u s ai d y o u m et an oth er wo r ki n g girl.
 16    Her nam e i s A l yc i a - -
 17           A.    U h -h u h.     ( A ff i rm a ti ve) .
 18           Q.    - - y o u g uy s m e t s mo kin g c ig a re t te s
 19    outs ide -- or yo u w e re sm o ki ng a c ig a re t te
 20    outs ide , a n d I 'm wo n de r in g h ow th e c o nv e rs ation
 21    star ted .    W ha t t h e c on v er s at ion w a s w it h h er?
 22           A.    I sa w h e r s ta r in g a t m e, so I s ai d, hey.
 23    She was he s it a nt to sa y h e y bac k, bu t s h e did.
 24    Afte r t h at , s h e a sk e d m e w ha t m y n am e w a s.               I
 25    told he r m y n a me .         S he to l d me he r n a me , a nd we
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  1    just h it it off as friends.
  2            Q.    Did you guys talk about wh at y ou w ere
  3    both d oi ng a t th e hotel?
  4            A.    We both talked about what we w ere both
  5    goin g th roug h at the hotel.
  6            Q.    Oka y.     So what was that?            What did you
  7    shar e wi th h er?
  8            A.    We were both being sexuall y tr affi cked.
  9    Only d if fere nce was she had a man, and I ha d a
 10    w o ma n .
 11            Q.    Do you know who her pim p was?
 12            A.    No, I d on't .
 13            Q.    How lon g ha d sh e be en a t the hotel ?
 14            A.    I'm not sur e.
 15            Q.    Do you know how lon g sh e had been be in g
 16    t r af f i cked?
 17            A.    No, ma' am.
 18            Q.    Okay.      Were you in the lobby with
 19    S a nt r e sia when s he r ente d th e ro om at the
 20    S u pe r 8?
 21            A.    Not the ver y fi rst time , no.
 22            Q.    Okay.      When wer e yo u in the lobby wi th
 23    h e r w h en she ren ted the room ?
 24            A.    I'm not sur e wh at d ay i t was.
 25            Q.    Was it just one of the days where yo u
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  1    gu ys ha d t o p a y f or th e n e xt d ay?
  2             A.   Y e s, ma ' am .
  3             Q.   O k ay .    H ow di d t h e co nve r sa t io n g o, from
  4    wh at yo u c a n r em e mb e r, wh i le y ou w er e i n t he
  5    lo bby, a nd yo u 'r e p a yi n g f or a ne w d a y a t the
  6    ho tel?
  7             A.   S a nt r es i a s ai d s h e wa nte d t o p a y for a
  8    ne w roo m - - I me a n, fo r h e r ro oms .             S he pa id for
  9    th e roo m s.     S h e w al k ed to th e lit t le ve n di ng
 10    mach ine ar e a.         I wa s s t il l i n t he lo b by .
 11             Q.   I s t h at al l t h at ha ppe ne d ?
 12             A.   I sp o ke to a l ad y w hil e I w a s i n there
 13    that wo r ke d t h er e .
 14             Q.   O k ay .    T el l m e a b ou t t ha t .
 15             A.   O k ay .    T he ol d er la dy sh e h a d s ai d, you
 16    look pr e tt y y o un g , l ik e , y ou lo ok ve r y y ou ng.           I
 17    said , I am yo u ng .         S he sa i d, yo u l oo k d e pr essed.
 18    You wal k in g a r ou n d h er e w i th yo ur he a d d ow n.           You
 19    look sa d a l l t he ti m e.         I to ld he r , I a m s ad,
 20    like .
 21             So ab o ut th e t i me af t er we f i ni s he d t hat
 22    conv ers a ti o n s he wa s - - m y s ist er wa s a l re ady
 23    walk ing ba c k, so I j us t w a s qui et .              T he la dy
 24    stil l a l lo w ed us to wa l k o ut of t h e h ot e l -- I
 25    mean , o u t o f t he ho t el lo b by .
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 1            Q.   Okay.       Did you tell her what was going

 2    on or why that you were sad?

 3            A.   I told her I was depressed, like, I have

 4    a lot going on.

 5            Q.   Did you tell her why you were depressed,

 6    or what it was that was a lot going on?

 7            A.   No, never.

 8            Q.   Okay.

 9            A.   I'm listening to you.

10            Q.   I'm thinking here.

11            Did you ask her for help?

12            A.   No.

13            Q.   Okay.       What do you think the staff

14    member should have done in response to you saying

15    that you were depressed, and you looked sad?

16            A.   Call the police.            Call DFCS.

17            Q.   Why do you think the staff member should

18    have called the police or called DFCS when seeing

19    that you were just sad and seemingly depressed?

20            A.   You have a child walking around in

21    lingerie and shorts, somebody's going to step in

22    and help.          Somebody's going to step in and help.

23            Q.   So you were wearing lingerie outside of

24    the room at this hotel?

25            A.   Yes.




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 1            Q.   Okay.     Is that what you were wearing in

 2    the lobby that day?

 3            A.   I had on a lingerie top and some black

 4    shorts, yes, ma'am.

 5            Q.   What did the lingerie top look like?

 6            A.   A black knitted outfit.                 The only thing

 7    is, my nipples was covered.

 8            Q.   Okay.     So you're saying that this was a

 9    top that was very unusual, even for the

10    summertime?

11            A.   Yes.

12            Q.   Okay.      Did you tell a staff member to

13    call the police or call DFCS?

14            A.   No.

15            Q.   Did you ever see that staff member again

16    after that day?

17            A.   I'm not sure.

18            Q.   Okay.      Describe the staff member for me

19    What did she look like?

20            A    A Caucasian woman with red hair.

21            Q    How old was she?           Do you know?

22            A    No, ma'am.

23            Q    She was older than you?

24            A.   Yes, ma'am.

25            Q.   Was she older than Santresia, did she




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 1    Santresia had rented the room again that day, she

 2    didn't let you outside the hotel until you were

 3    rescued, the hotel room?

 4            A.   Unless we were walking to get food and

 5    whatever, cigarettes.               Unless we were walking to

 6    get that, I was never -- I was never outside of

 7    the room, unless I wanted to smoke.

 8            Q.   Okay.      Did she supervise you when you

 9    would go outside to smoke?

10            A.   Yes, ma'am.        She would leave the door

11    right open -- wide open, so she could see me,

12    make sure I can't go anywhere.

13            Q.   Did she take the phone out of the

14    working room at the Super 8 as well?

15            A.   I'm not sure about that one

16            Q.   Okay.

17            A    -- because that's around the time that

18    Santresia started to work.

19            Q.   Okay.     So at the Super 8 on Crescent

20    Centre is where she started to work?

21            A.   Yes, ma'am.

22            Q.   Meaning, she's prostituted herself?

23            A.   Yes, ma'am.

24            Q.   Okay.     How many of you guys were staying

25    at the hotel room at the Super 8?




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 1             A.   Eight.

 2             Q.   Okay.      That's more than before.

 3             What eight were staying with                 you then?

  4            A.   Me, Santresia, Sharmaine, Santresia's

 5     two kids, Sharmaine's two kids, my sister, my

 6     other sister, Shaniqua, came and her baby.

  7            Q.   Okay.      When did Shaniqua come into the

 8     picture?

 9             A.   Three days before I was rescued.

10             Q.   Why did she come to stay at the hotel

11     with    you guys?

12             A.   I don't know.

13             Q.   Do    you have any understanding why she

14     came to the hotel now?

15             A.   No.

16             Q.   I'm sorry?

17             A.   No, ma'am.

18             Q.   Okay.      Okay.       Did you talk to her about

19     not wanting to have to sell yourself and wanting

20     help?

21             A.   Did I talk to Shaniqua about it?

22             Q.   Shaniqua, yeah.

23             A.   No.

24             Q.   Why didn't you talk to her about it?

25             A.   Because she already knew.




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 1            Q.   How do you know she already knew?

 2            A.   Sharmaine told her.

 3            Q.   Did she do anything about it?

 4            A.   No, her and Shea fought -- I mean, her

 5    and Santresia fought about it.

 6            Q.   Physically, fought?

 7            A.   Yes.

 8            Q.   When did Sharmaine come to live with                    you

 9    guys again -- oh, excuse me.

10            When did Sharmaine come to stay at the same

11    hotel with you guys again?

12            A.   When we first got there.

13            Q.   The Super 8?

14            A.   Yes, ma'am.

15            Q.   How did she know you guys were at the

16    Super 8?

17            A.   Santresia.

18            Q.   She called her?

19            A.   Yes.     Yes, ma'am.

20            Q.   Sharmaine, was she prostituting at this

21    hotel as well?

22            A.   Yes, ma'am.

23            Q.   Did you guys have two hotel rooms or

24    multiple hotel rooms?

25            A.   Two hotel rooms.




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 1            Q.   Did Sharmaine have her own?

 2            A.   No.

 3            Q.   How come she didn't get her own room

 4    this time?

 5            A.   I'm not sure.

 6            Q.   Okay.     So Santresia is still posting you

 7    on Backpage, Craigslist, and what was the third

 8    one?

 9            A.   ListCrawler.

10            Q.   She's still posting you on all of those

11    three?

12            A.   Yes, ma'am.

13            Q.   Okay.     How long were         you at the Super 8?

14    Do you remember?

15            A.   I was there from September 2nd until

16    September 9th.

17            Q    In 2015, right?

18            A    Yes, ma'am.

19            Q    Okay.      Do you remember where, in the

20    seven days you were there, the conversation with

21    the staff member happened?               Was it closer to the

22    first day, closer to the rescue?                     Do you have any

23    idea?

24            A.   In the middle.         I would say about --

25     yeah, I can't recall that, and I don't want to




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 1    try to recall it.

 2            Q.   Okay.      Tell me about what happens during

 3     your time at the Super 8.

 4            A.   What do you mean?

 5            Q.   So if Sharmaine is there staying with

 6     you guys, and then kind of around the middle

 7    Sharmaine comes, too.               She's prostituting

 8    herself.       Santresia is prostituting herself, and

 9    then Santresia is still forcing you to take

10    plays, right?

11            A.   Yes.

12            Q.   Okay.     So how are the three of you

13    working out of one room?

14            A.   Whenever she -- whenever Santresia have

15    a play, me and Sharmaine is in the other room

16    with the kids, and we just swap out like that.

17            Q.   Okay.      Whenever Santresia had her own

18    play, did you ever think about escaping yourself

19    or getting help?

20            A.   Where am I -- I had nowhere to escape

21    to.     I had no way to get help.

22            Q.   Well, I mean, you didn't escape -- think

23    about escaping the hotel in general.                      Just, like,

24    walking out of there and figuring out where to go

25    next?




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 1            A.   No, ma'am.       I had no money.            I had

 2    nothing.

 3            Q.   Okay.      You never thought to go down to

 4    speak to a staff member and call your family?

 5            A.   No.

 6            Q.   Okay.      Why do you say it like that?

 7            A.   Because I have -- and I'm just saying it

 8    like this, I have 20 men a day coming in and out

 9    of my room

10            Q.   Uh-huh.      (Affirmative).

11            A.   -- I'm walking around with my head down.

12    I don't -- if that's not enough to tell you that

13    something is wrong with a child, I don't know.                       I

14    wasn't expecting nobody to help me, especially

15    not at that hotel.

16            Q.   Okay.     At this hotel, though, it's not

17    just you working out of one room.                    It's multiple

18    people, right?

19            A.   Yes.

20            Q.   And there was two of them who were of

21    age.     They were not minors, right?

22            A.   Yes.

23            Q.   Okay.     So even if people are coming and

24    visiting the same hotel room and there's traffic

25    in and out, it's not really clear who the traffic




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                                                                          Page 188
  1    is rela t ed to ?
  2           A.    T h at ' s n ot tr u e.
  3           Q.    O k ay .   H ow is it cl ea r?
  4           A.    B e ca u se we ' ll st a nd o uts i de an d w ait for
  5    th e joh n t o c o me up th e b a ck s tai r s.
  6           Q.    S o y o u' d s t an d o u ts id e t h e h ot e l room?
  7           A.    Y e s, ma ' am .
  8           Q.    O k ay .   D oo r o p en ?     Li ke, st a nd i ng in the
  9    do orway or --
 10           A.    S t an d in g o u ts i de on th e b al c on y .
 11           Q.    O k ay .   H av e y o u e ve r s ee n w h at th e
 12    secu rit y c a me r a f oo t ag e l o ok s l ik e ?
 13           A.    No.
 14           Q.    O k ay .   S o y ou do n 't kn ow ho w c l ea r the
 15    imag e i s o r h o w m uc h - -
 16           A.    No.
 17           Q.    - - y o u c an se e ?        Ok ay.      D id yo u e ver see
 18    any sta f f m em b er s w a lk ar o un d t he pr o pe r ty ?
 19           A.    No.
 20           Q.    O k ay .   D id yo u e v er se e p ol i ce at the
 21    prop ert y , o th e r t ha n w h en yo ur re s cu e h a pp ened?
 22           A.    F r om wh a t I r e ca l l, no .
 23           Q.    O k ay .   Y ou sa i d e ar lie r t ha t y o u would
 24    hear sc r ea m in g t h ro u gh th e w all s.
 25           Wh a t w er e y o u h ea r in g ?     I kn o w y ou sa id
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                                                                         Page 189
  1    sc reami n g a nd , I gu e ss , I ' m ju st l oo k in g f or a
  2    li ttle b it mo r e d es c ri p ti o n.        Was it , l i ke , help
  3    me scre a ms ?        W as it pe o pl e f ig hti n g s cr e am ing?
  4    Wa s it s ex sc r ea m in g ?        Wh a t ki nd o f s cr e am ing
  5    wh ere y o u h ea r in g ?
  6           A.    T h e g ir l s a id , h e lp m e, p le a se .
  7           Q.    D i d y ou do an y th i ng a bou t t h at ?
  8           A.    T h e g ir l w a s A ly c ia P ier c e.
  9           Q.    D i d y ou re c og n iz e y ou r v o ic e - - o r how
 10    did you -- he r v o ic e , o r h ow di d y ou kn o w it was
 11    her?
 12           A.    S h e t ol d m e i t w a s her , a nd I s aw her
 13    afte r, a nd sh e w a s p is t ol wh ipp ed .
 14           Q.    D i d a ny b od y e l se he ar th e h e lp me please
 15    scre ami n g?
 16           A.    M y s i st e rs .
 17           Q.    O k ay .     A ll th e o n es in t h e r oo m ?
 18           A.    ( S ha k es he a d) .
 19           Q.    Y e s?
 20           A.    Y e s, ma ' am , a n d a c oup le ot h er pe ople
 21    came ou t t h ei r r o om .
 22           Q.    C a me ou t t h ei r r o om or r u nn i ng ?
 23           A.    O u t t he i r r oo m s.
 24           Q.    T h ei r r o om s , o ka y .    Ot he r t h an Al ycia,
 25    do y ou r em e mb e r a ny ot h er in div id u al s w h o stayed
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  1    at the h ot e l w hi l e y ou we r e th ere ?
  2           A.    I do n 't kn o w t he m b y nam e , b ut it was a
  3    lo t of y ou n g w om e n a nd ol d er w ome n .
  4           Q.    O k ay .    Y ou do n 't kn ow an y n a me s o r
  5    ni cknam e s?
  6           A.    N o , m a' a m.
  7           Q.    O k ay .    W er e a l l o f th e o l de r w o me n and
  8    gi rls y o u j us t m e nt i on e d w or ki ng g ir l s, or do you
  9    kn ow if so m e w er e n o t?
 10           A.    F r om wh a t I c o ul d t ell , t he y w e re
 11    work ing gi r ls .
 12           Q.    O k ay .    B ut di d y o u dis cu s s i t w it h --
 13    you did n 't di s cu s s i t w it h e ver y o ne of th em?
 14           A.    No.
 15           Q.    O k ay .    T ha t w a s j us t w ha t y o u a ss umed
 16    from --
 17           A.    Y e s.     Y e s, ma ' am .
 18           Q.    O k ay .    O ka y .   Di d y ou pe r so n al l y see
 19    peop le h av i ng se x i n t h e s ta irw el l s?
 20           A.    Y e s.
 21           Q.    H o w m an y t i me s d i d you s e e t ha t h appen?
 22           A.    A lo t .     Mo r e o ft e n tha n I s h ou l d have.
 23           Q.    H o w m an y t i me s i s t hat ?
 24           A.    A n yt i me I w al k ed do wns ta i rs re a ll y.        I
 25    can' t t e ll yo u a n e x ac t n u mb er.
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  1            Q.       Mor e th an five?
  2            A.       Yes .
  3            Q.       Mor e th an ten?
  4            A.       Aga in, I know it was more than fiv e
  5    time s.         I ca n't say if it was more than ten , but
  6    I kn ow i t wa s a lot.
  7            Q.       Oka y.     Okay.    When you sai d th at g irls
  8    woul d be out side this hotel in ling erie , wa s it
  9    simi la r to w hat you were saying you wer e we aring
 10    i n t h e lobby, li ke, a li nger ie t op and some
 11    s h or t s , or was i t to p, b otto m li ngerie?
 12            A.       It woul d be lin geri e.         I saw girls
 13    o u ts i d e in dress es t hat was ling erie.                I sa w
 14    g i rl s outside in top s an d sh orts that was
 15    l i ng e r ie.     It wa s -- I e ven saw girls outsi de i n
 16    p a nt i e s.
 17            Q.       When yo u wo uld see this , what time o f
 18    d a y w a s it?          Nig htti me o r al l ho urs of the da y?
 19            A.       All hou rs o f th e da y.
 20            Q.       Okay.      Okay .   S o wh at h appened -- wh at
 21    h a pp e n s next at the hote l?
 22            A.       What do you mea n?
 23            Q.       Shaniqu a ca me t o st ay w ith you guy s
 24    t h re e days befor e yo u we re r escu ed.               I can' t
 25    r e me m b er at what tim e yo u he ard the help me
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 1    phone was he law enforcement, he hesitated and

 2    told me, no.

 3            Q     Do you know how police ended up there?

 4            A     No.

 5            Q     Do you know if somebody called them?

 6            A.    No.

 7            Q.    Do you know if somebody reported what

 8    was happening at the hotel?

 9            A.    No.

10            Q.    Where did you get the name Paige Evans?

11            A.    That's my cousin's name.

12            Q.    Okay.      Do you have her ID?

13            A.    No.

14            Q.    You just used her name?

15            A.    Uh-huh.      (Affirmative).

16            Q.    Yes?

17            A.    Yes.     I'm sorry.

18            Q.    That's okay.           Why did you tell the

19    police a different name and a different age, even

20    though       you wanted help?

21            A.    Trying to protect Santresia.

22            Q.    Okay.

23            A.    I wanted help, but I was still trying to

24    protect her.

25            Q.    Okay.     So even after everything, she's




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 1    trafficked you for many months and forced you to

 2    have sex with hundreds of men; is that fair to

 3    say?

 4            A.   Yeah, yes.

 5            Q.   Okay.     So even after all that and she's

 6    beating you multiple times, you still wanted to

 7    help her somewhat?

 8            A.   Yes.

 9            Q.   Okay.     So at what point did you tell the

10    truth to the police?

11            A.   I don't know if it was that day or 2018.

12            Q.   Okay.      When did you learn that your

13    sisters were trying to get away from the police?

14            A.   That day.

15            Q.   Okay.     Even after knowing that your

16    sisters were trying to get away and leave                      you

17    with the police, is that when you still were

18    lying to them?

19            A.   Yes.

20            Q.   Okay.     So what do you tell the police

21    when    you get to the station and you're getting

22    interviewed?         Do you remember?

23            A.   Huh?

24            Q.   When you get to the station, or wherever

25    they took you, and -- they interview you, right?




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 1            Q.   Okay.

 2            A.   I don't think they told me her charges.

 3            Q.   Okay.      From that moment on, I know that

 4     you lied to the police some, but besides that,

 5    did you cooperate with the police investigation?

 6            A.   What investigation, into my sister?

 7            Q.   Yeah.     Any investigations that followed?

 8            A.   Yes, I did.

 9            Q.   Okay.     So other than your sister's

10    investigation, what else was there?

11            A.   Frank Brown.

12            Q.   Okay.     And he was a john, right?

13            A.   Yes, at the Super 8 hotel.

14            Q.   And that was where           you testified at his

15    trial, right?

16            A.   Yes.

17            Q.   Okay.     Santresia testified there, too,

18    right?

19            A.   Yes.

20            Q.   Were you able to stay in the courtroom

21    during her testimony?

22            A.   No.

23            Q.   Did you stay for any portion of his

24    trial, other than what you had to testify for?

25            A.   No, ma'am.




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 1    of that hotel?

 2            Q.   Yeah.      What was dangerous about the

 3    hotel, or what did you think was hazardous at the

 4    hotel?

 5            A.   From the first look of it, nothing.

 6            Q.   Okay.

 7            A.   All I knew was that there were multiple

 8    women outside.

 9            Q.   Okay.      When you were there, did you get

10    housekeeping services?              Like, did they come clean

11     your room?

12            A.   I don't remember that part.

13            Q.   Okay.      Did you have to go to the front

14    desk and ask for towels or ask housekeeping for

15    towels?

16            A.   We did.

17            Q.   Okay.      Did you do that more often than

18    just, like, I guess, daily?

19            A.   I don't remember that part.

20            Q.   Okay.     Okay.        What do you think the

21    hotel could have done to prevent this from

22    happening, if anything?

23            A.   Called DFCS or called the police.

24            Q.   Okay.      Do you think that the hotel

25    should have done something to prevent this from




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 1     you haven't seen anybody, right?

 2            A.    I'm not even sure how to answer that.

 3            Q.    You haven't seen any medical providers,

 4    outside of Emory Clinic and CHOA, right?

 5            A.    No, ma'am, I have not.

 6            Q.    Okay.     I'll just leave it there.

 7            Are you aware of any other expenses that

 8     you're relating to this lawsuit, any costs that

 9     you incurred, anything you've had to pay for --

10                   MR. MCDONOUGH:          Objection.         You can

11    answer.

12    BY MS. MERRILL:

13            Q.   -- related to the sex trafficking?

14            A.    No, not that I'm aware of.

15            Q.    Okay.     Maybe that's a good way for me to

16    ask that other question, too.

17            Have you ever paid for any medical care

18            A.    No.

19            Q.   -- related to the lawsuit?                  Okay.

20    Sorry.       I'm not try -- I'm not trying to be

21    tricky, but you can see, lawyers are sometimes

22    really not good at questions.

23            How many plays did you have a day, if you

24    can remember, while at the Super 8?

25            A.    I could say, I saw 20 people a day.




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